76 F.3d 370
    NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.Anthony SOLIMINE, Plaintiff, Appellant,v.UNITED STATES of America, et al., Defendants, Appellees.
    No. 95-1802.
    United States Court of Appeals, First Circuit.
    Feb. 9, 1996.
    
      Anthony Solimine on brief pro se.
      Donald K. Stern, United States Attorney, and David S. Mackey, Assistant U.S. Attorney, on brief for appellees.
      Before TORRUELLA, Chief Judge, BOUDIN and STAHL, Circuit Judges.
      PER CURIAM.
    
    
      1
      There was no abuse of discretion in the district court's denial of plaintiff-appellant Anthony Solimine's motion, filed pursuant to Fed.R.Civ.P. 60(b).   In granting Solimine's motion to proceed in forma pauperis, in December 1994, the district court expressly indicated that it was not ruling on the sufficiency of the complaints to state a claim for relief and that its dismissal of a similar prior complaint was then pending in this court.   On March 24, 1995, we affirmed the district court's dismissal of two substantially identical cases, noting that those complaints were based on "an indisputably meritless legal theory."   Solimine v. F.B.I., Nos. 94-1873;  94-1995 (1st Cir.  Mar. 24, 1995) (unpublished per curiam) (quoting Neitzke v. Williams, 490 U.S. 319, 327 (1989).   The district court's action, shortly thereafter on April 6, 1996, that (1) denied Solimine's request to enlarge the time to serve the defendants with the instant complaints that do not differ in any material respect from his earlier-filed complaints and (2) closed these consolidated cases was completely justified.
    
    
      2
      The government has filed a motion asking us to bar Solimine from filing further appeals against it or its agencies relating to Solimine's 1991 hospitalizations and his 1991 visits to the offices of the F.B.I. and U.S. Attorney seeking their help in this matter.   The request is, at best, premature in the absence of any district court prohibition against Solimine filing any related action there and in light of the fact that it appears that Solimine has no cases against the government currently pending in the district court and the instant appeal is the only one remaining before us.   The motion is therefore denied.
    
    
      3
      Nonetheless, our present denial is without prejudice to renewal by the government in the future, should Solimine continue to pursue repetitive, frivolous litigation against the government or its agencies.   We note that the instant appeal is the sixth attempt by Solimine to seek appellate review of a matter, which we have consistently ruled to be without a basis in law.   See Solimine v. F.B.I. Agent Morrill, No. 91-1281 (1st Cir.  Mar. 28, 1991) (unpublished order);  Solimine v. F.B.I., Nos. 94-1873;  94-1995 (1st Cir.  Mar. 24, 1995) (unpublished per curiam disposing of two appeals);  Solimine v. United States, No. 94-2250 (1st Cir.  Aug. 29, 1995) (unpublished per curiam);  and Solimine v. United States, No. 95-1352 (1st Cir.  Oct. 26, 1995) (unpublished per curiam).   Solimine is warned that, in the event of future repetitive baseless litigation, even in the absence of any appropriately-tailored injunction, sanctions, pursuant to Fed.R.App.P. 38, may be imposed.
    
    
      4
      Affirmed.
    
    
      5
      The government's motion for order enjoining Anthony Solimine from filing further frivolous appeals is denied without prejudice.
    
    